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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
___________________________________________________________________

ANTHONY DONIQUE CLAY,
MAURICE ANTHONY NEWSON,
and KARLOS LATWIAN HARRIS,

                            Plaintiffs,

v.                                                           Case No. 09-12509

STATE OF MICHIGAN,

                      Defendant.
____________________________________/

          OPINION AND ORDER OF DISMISSAL AND DENYING AS MOOT
            PLAINTIFFS’ “MOTION FOR ALTERNATE SERVICE” AND
               “MOTION FOR TEMPORARY RESTRAINING ORDER”

       Plaintiffs Anthony Donique Clay, Maurice Anthony Newson, and Karlos Latwian

Harris are state prisoners presently confined at correctional facilities in Jackson and

Muskegon Heights, Michigan. On June 25, 2009, they filed a pro se complaint against

the State of Michigan pursuant to the Alien Tort Claims Act, 28 U.S.C. § 1350, and the

All Writs Act, 28 U.S.C. § 1651. Also pending before the court are Plaintiffs’ motion for

a temporary restraining order and preliminary injunction “to ensure their immediate

release” from custody and Plaintiffs’ motion for service of their complaint on the

defendant. For the reasons stated below, the court will dismiss Plaintiffs’ complaint and

deny their pending motions as moot.

                                    I. BACKGROUND

       The complaint challenges Plaintiffs’ arrests, convictions, and imprisonment.

Plaintiffs allege that they were transferred to the Michigan Department of Corrections
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under the guise of being United States citizens, but that they never agreed to subject

themselves to the State’s jurisdiction, and that they are enslaved in violation of their

basic human rights. In an unrelated claim in their complaint, Plaintiffs allege that

employees of the Michigan Department of Corrections have seized their documents,

forms, and mail related to the Uniform Commercial Code (“UCC”). They seek money

damages and to have their criminal judgments vacated.

                                        II. STANDARD

       Plaintiffs have been granted leave to proceed without prepayment of the filing fee

for this action. An indigent prisoner’s complaint against a governmental entity, officer,

or employee may be dismissed if it (1) is frivolous, malicious, or fails to state a claim for

which relief may be granted, or (2) seeks monetary relief from a defendant who is

immune from such relief. Smith v. Campbell, 250 F.3d 1032, 1036 (6th Cir. 2001)

(citing 28 U.S.C. §§ 1915(e)(2) and 1915A). A complaint is frivolous if it lacks an

arguable basis in law or in fact. Neitzke v. Williams, 490 U.S. 319, 325 (1989). While a

complaint need not contain detailed factual allegations, the “[f]actual allegations must be

enough to raise a right to relief above the speculative level on the assumption that all

the allegations in the complaint are true (even if doubtful in fact).” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007) (citations and footnote omitted).

                                     III. DISCUSSION

       The pending complaint is frivolous and fails to state a claim because prisoners

have no right to money damages for allegedly unconstitutional convictions or

imprisonment unless their convictions or sentences have been invalidated by state



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officials or impugned by a federal court’s grant of a writ of habeas corpus. Heck v.

Humphrey, 512 U.S. 477, 486-487 (1994). Heck and progeny indicate that a state

prisoner’s complaint “is barred (absent prior invalidation) - no matter the relief sought

(damages or equitable relief), no matter the target of the prisoner’s suit (state conduct

leading to conviction or internal prison proceedings) - if success in that action would

necessarily demonstrate the invalidity of confinement or its duration.” Wilkinson v.

Dotson, 544 U.S. 74, 81-82 (2005) (emphasis in original). Plaintiffs have not shown that

their convictions were invalidated by state officials or impugned by a federal court on

habeas corpus review, and success in this action could undermine their convictions.

Therefore, they have no right to monetary or injunctive relief.

       Furthermore, the sole defendant is the State of Michigan. The Eleventh

Amendment bars civil actions against a state and its departments unless the state has

waived its immunity and consented to suit. Will v. Michigan Dep’t. of State Police, 491

U.S. 58, 66 (1989); Alabama v. Pugh, 438 U.S. 781, 782 (1978) (per curiam opinion).

Eleventh Amendment immunity “bars all suits, whether for injunctive, declaratory or

monetary relief, against the state and its departments, by citizens of another state,

foreigners or its own citizens,” Thiokol Corp. v. Dep’t of Treasury, State of Mich.,

Revenue Div., 987 F.2d 376, 381 (6th Cir. 1993) (citations omitted), and “[t]he All-Writs

Act . . . cannot be used to circumvent or supersede the constitutional limitations of the

Eleventh Amendment,” In re Baldwin-United Corp. (Single Premium Deferred Annuities

Ins. Litig.), 770 F.2d 328, 340 (2d Cir. 1985). To the extent that Plaintiffs allege

violations of their civil rights and seek to hold the State liable under a respondent

superior theory, their claims lack merit, because vicarious liability is not a basis for relief

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in a civil rights action. Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989) (citing Monell v.

Dep’t of Soc. Serv. of the City of New York, 436 U.S. 658, 694-95 (1978)).

       Plaintiffs have also failed to state a claim under the Alien Tort Claims Act, which

requires showing that: “‘(1) the plaintiff is an alien; (2) the claim is for a tort; and (3) the

tort is committed in violation of the law of nations or a treaty of the United States.’”

Burnett v. Al Baraka Investment and Development Corp., 274 F. Supp. 2d 86, 99-100

(D.D.C. 2003) (quoting Bao Ge v. Li Peng, 201 F. Supp. 2d 14, 19-20 (D.D.C. 2000)).

       A violation of the law of nations is broadly understood as a violation of the
       norms of customary international law. In discussing the norms of
       customary international law, the Supreme Court has noted the limited
       category of claims that federal courts could entertain at the time the [Alien
       Tort Statute] was enacted were “defined by the law of nations and
       recognized at common law.” Sosa v. Alvarez-Machain, 542 U.S. 692,
       712, 124 S.Ct. 2739, 2754, 159 L.Ed.2d 718 (2004). Offenses against the
       law of nations principally involved the rights or interests of whole states or
       nations, and did not necessarily involve the private interests of individuals
       seeking relief in court. Id. at 720, 124 S.Ct. at 2759. As this Court has
       previously noted, the law of nations are “[t]he standards by which nations
       regulate their dealings with one another.” Cohen v. Hartman, 634 F.2d
       318, 319 (5th Cir. Unit B Jan.1981) (“[T]he general consensus is that the
       law [of nations] deals primarily with the relationship among nations rather
       than among individuals.” (internal quotation marks omitted)); accord In re
       Estate of Ferdinand E. Marcos Human Rights Litig., 978 F.2d 493, 501-02
       (9th Cir.1992) (“Only individuals who have acted under official authority or
       under color of such authority may violate international law....”).

Sinaltrainal v. Coca-Cola Co.,– F.3d – , – , No. 06-15851, 2009 WL 2431463, at *5 (11th

Cir. Aug. 11, 2009) (footnote omitted).

       Plaintiffs have not demonstrated that they are aliens or that the State of Michigan

has violated international law, that is, the standard by which nations regulate their

dealings with one another. Plaintiffs are asserting the private interests of individuals,




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not the rights or interests of entire nations. Consequently, they have no right to relief

under the Alien Tort Claims Act.

                                                          IV. CONCLUSION

           Plaintiffs’ claims are frivolous, fail to state a claim, and seek money damages

from an entity which is immune from such relief. Accordingly,

           IT IS ORDERED that the complaint [Dkt. # 1] is DISMISSED pursuant to 28

U.S.C. §§ 1915(e)(2) and 1915A. Under Heck, the challenge to their convictions is

dismissed without prejudice. Callihan v. Schneider, 178 F.3d 800, 804 (6th Cir. 1999).

The UCC claim and the claims under the Alien Tort Claim Act and the All Writs Act are

dismissed with prejudice.

           IT IS FURTHER ORDERED that the motions for a temporary restraining order,

preliminary injunction, and service of the complaint [Dkt. ## 4 & 5] are DENIED AS

MOOT.



                                                                     s/Robert H. Cleland
                                                                     ROBERT H. CLELAND
                                                                     UNITED STATES DISTRICT JUDGE

Dated: August 31, 2009

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 31, 2009, by electronic and/or ordinary mail.

                                                                     s/Lisa G. Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522




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